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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 Centro de Trabajadores Unidos, et al.,

            Plaintiffs,

              v.
                                                    Civil Action No. 25-677 (DLF)
 Scott Bessent, in his official capacity as
 Secretary of the Treasury, et al.,

            Defendants.


        PLAINTIFFS’ MOTION FOR A TEMPORARY RESTRAINING ORDER

       Pursuant to Local Civil Rule 65.1(a), Plaintiffs hereby move for a temporary restraining

order, to remain in effect until such time as the Court can further consider the merits of Plaintiffs’

claims, (1) enjoining Defendants Secretary of the Treasury Scott Bessent, the Internal Revenue

Service, and acting Commissioner of Internal Revenue Melanie Krause from disclosing tax return

information to the U.S. Department of Homeland Security, U.S. Immigration and Customs

Enforcement, the President of the United States, or any other component of the federal government

or of a state government seeking such information for purposes of the enforcement of immigration

laws, and (2) enjoining Defendants to retrieve and safeguard any such information that has already

been disclosed for that purpose. Plaintiffs request a hearing on this motion at the Court’s earliest

convenience to ensure that the Court can consider whether to grant emergency relief before the

unlawful dissemination of confidential tax information.

       As set forth in more detail in the accompanying memorandum, Defendants have disclosed

or are imminently about to disclose tax return information for purposes of immigration

enforcement in violation of the confidentiality requirements of the Internal Revenue Code.
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Defendants’ actions would be unlawful, and Plaintiffs will suffer imminent and irreparable injury

should such unlawful disclosure access be permitted.

       Pursuant to Local Civil Rule 65.1(a) and this Court’s minute orders, Plaintiffs approached

the Department of Justice on the day they filed their complaint to confer about Plaintiffs’ request

for emergency relief. Between March 10, when counsel for Defendants was identified to Plaintiffs,

and March 13, Plaintiffs attempted to reach an agreement with Defendants on a consent order that

would preserve the status quo until this Court could resolve the merits of Plaintiffs’ claims. Those

efforts were unsuccessful. Counsel for Defendants have entered appearances in this case and will

receive notice of this motion via ECF.


Dated: March 14, 2025                                   Respectfully submitted,

                                                        /s/ Nandan M. Joshi
 Kevin L. Herrera                                       Nandan M. Joshi
   (Motion for pro hac vice forthcoming)                    (DC Bar. No. 456750)
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